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                    IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE DISTRICT OF DELAWARE

In re:                                             Chapter 7
                                                   Case No. 23-10253 (KBO)
AKORN HOLDING COMPANY LLC, et al.,                 Objection Deadline: May 16, 2023
                                                   Hearing Date: May 19, 2023 at 10:00 a.m. (ET)

                              Debtors.             Ref. Doc. Nos 106 & 146


                OBJECTION OF SOFGEN PHARMACEUTICALS LLC
         TO PROPOSED CURE AMOUNTS AND ASSIGNABILITY OF CONTRACT

         Sofgen Pharmaceuticals LLC (“Sofgen”) files this Objection (the “Objection”) to the

Notice of Executory Contracts and Unexpired Leases that May be Assumed and Assigned,

Pursuant to Section 365 of the Bankruptcy Code, in Connection with the Sale of Substantially all

of the Debtors’ Assets, and the Proposed Cure Amounts [Docket No. 146] (the “Cure Notice”),

and states:

                                           BACKGROUND

         1.    On February 23, 2023 (the “Petition Date”), the above-captioned debtors (the

“Debtors”) filed voluntary petitions for relief under chapter 7 of title 11 of the United States

Code (the “Bankruptcy Code”). Shortly thereafter, the Office of the United States Trustee

appointed George L. Miller as the chapter 7 trustee (The “Trustee”) in the above-captioned

cases.

         2.    Prior to the Petition Date, debtor Akorn Operating Company LLC (formerly

Akorn, Inc.) (“Akorn”) and Sofgen were parties to an Exclusive Supply Agreement dated

January 1, 2016 (as amended, the “Supply Agreement”).             In accordance with the Supply

Agreement, Sofgen manufactured two products—Progesterone and Dronabinol—for marketing
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and sale by Akorn in accordance with the terms of the Supply Agreement.

        3.       On April 20, 2023, the Trustee filed a Motion for Entry of (I) an Order (A)

Approving Bidding Procedures in Connection with Sale of Substantially all of the Estates' Assets,

(B) Scheduling an Auction and Hearing to Consider the Proposed Sale, and (C) Approving the

Form and Manner of Notice Thereof; and (II) an Order (A) Approving the Sale, (B) Authorizing

the Assumption and Assignment of Executory Contracts and Unexpired Leases, and (C) Granting

Certain Related Relief [Docket No. 106] (the “Bidding Procedures Motion”).1

        4.       In connection with the Bidding Procedures Motion and Sale, the Trustee filed the

Cure Notice on May 1, 2023. The Cure Notice lists the following contracts between Sofgen and

the Debtor as being available for assumption and assignment and reflects that the alleged cure

amount for each contract is $0:




        5.       Of the seven alleged extant contracts identified by the Trustee, only the Supply

Agreement (including and the related addenda) was an active contract as of the Petition Date that

might potentially be subject to assumption and assignment. The remaining listed contracts have

long-since been terminated, have expired by their terms or are addenda to the Supply Agreement.

        6.       In addition, the alleged $0 cure amount for the Supply Agreement is not accurate.

As set forth below, the cure amount necessary to cure monetary defaults under the Supply
1
 Capitalized terms used, but not otherwise defined herein shall have the meaning ascribed to them in the Bidding
Procedures Motion.
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Agreement and that would need to be paid to Sofgen in connection with any prospective

assumption and assignment is at least $885,199.00 (the “Cure Amount”).

                                        OBJECTION

       7.     Section 365(a) of the Bankruptcy Code empowers a debtor to assume or reject an

executory contract. Pursuant to section 365(f)(2)(A) of the Bankruptcy Code, the trustee or

debtor-in-possession may assign an executory contract or unexpired lease of the debtor only if

the trustee or debtor-in-possession assumes such contract or lease in accordance with the

provisions of section 365 of the Bankruptcy Code. 11 U.S.C. § 365(f)(2)(A).

       8.     Section 365(b)(1) of the Bankruptcy Code provides:

       If there has been a default in an executory contract or unexpired lease of the
       debtor, the trustee may not assume such contract or lease unless, at the time of
       assumption of such contract or lease, the trustee –

                      (A)     cures, or provides adequate assurance that the
              trustee will promptly cure, such default…;

                      (B)     compensates, or provides adequate assurance that
              the trustee will promptly compensate, a party other than the debtor
              to such contract or lease, for any actual pecuniary loss to such
              party resulting from such default; and

                     (C)    provides adequate assurance of future performance
              under such contract or lease.
              11 U.S.C. § 365(b)(1).

       9.     The Debtor may not assume or assign the Supply Agreement pursuant to sections

365(f)(2)(A) and 365(b)(1) of the Bankruptcy Code unless it cures and compensates, or provides

adequate assurances that it will promptly compensate, Sofgen for its actual pecuniary losses

suffered as a result of the Debtor’s defaults under the Supply Agreement. See In re Rickel Home

Centers, Inc., 209 F.3d 291, 298 (3d Cir. 2000), cert. denied, 531 U.S. 873 (2000) (noting that

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trustee must satisfy requirement of cure or adequate assurance of prompt cure before he may

assume a contract or lease).

       10.       Cure or the provision of adequate assurance of a prompt cure is a prerequisite to

the ability of a trustee to assume and assign a contract or lease. See In re Superior Toy & Manuf.

Co., Inc., 78 F.3d 1169, 1174 (7th Cir. 1996) (interpreting language of Section 365(b)(1) to

unequivocally mean that “[a] party to an executory contract must be paid all amounts due him

under the contract before the contract may be assumed”); In re PRK Entreprises, Inc., 235 B.R.

597, 602 (Bankr. E.D. Tex. 1999) (holding that cure or adequate assurance that prompt cure will

be made is a “prerequisite to assumption”).

I.     Incorrect Cure Amount

       11.       Sofgen objects to the Cure Notice because the cure amount provided therein to

cure defaults under the Supply Agreement is not correct. The Cure Notice lists the amount

necessary to cure defaults under the Supply Agreement as $0.00.

       12.       Indeed, as a result of the Debtors’ failure to perform under the Supply Agreement

and refusal to contribute to a series of shared costs, Cure Amount remains outstanding as of the

Petition Date.

       A.        Progeseterone

       13.       In September 2021, the U.S. Food & Drug Administration (“FDA”) changed the

rating of Progesterone, which required Sofgen to conduct a further biostudy. Akorn informed

Sofgen that it was not interested in relaunching the product and, as a result, refused to contribute

towards the cost of the biostudy and the cost associated with submitting the prior approval

supplement (“PAS”) to the FDA, which Sofgen anticipates doing within the next few months.

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Any prospective assignee of the Supply Agreement, however, would need to compensate Sofgen

for 50% of the cost of the biostudy and submission of the PAS—calculated by Sofgen as

$323,683.50—in order to cure the existing default under the Supply Agreement and step into the

position of Akorn thereunder.2 Absent such cure, assumption and assignment under section 365

of the Bankruptcy Code is not permitted.

        B.       Dronabinol

        14.      Akorn also owes amounts to Sofgen in connection with Dronabinol. In late 2021,

the manufacturer of the active pharmaceutical ingredient (“API”) in Dronabinol closed its

foreign manufacturing facility and informed Sofgen that it would be relocating the

manufacturing to the United States. In light of this change, Sofgen made the required batches,

completed the necessary testing and prepared the appropriate paperwork, so that Akorn could file

it timely with FDA. Pending regulatory approvals, however, caused supply chain challenges and

delays in the manufacturing process. As a result, Sofgen incurred a series of costs prepetition for

which Akorn failed to partially reimburse Sofgen.3 In addition, Sofgen purchased additional API

for open Akorn purchase orders, but Akorn refused to accept the new inventory. As a result, as

of the Petition Date, Sofgen was in possession of excess inventory acquired on account of Akorn

purchase order and for which Akorn did not pay. The total cost of this inventory and other

expenses—including additional testing and regulatory submissions—attributable to Akorn is

$561,515.50.4


2
  Attached hereto as Exhibit A is a summary of the additional costs incurred by Sofgen relating to Progesterone and
for which Akorn (or any prospective assignee) would be required to reimburse Sofgen for 50% of the total costs.
3
  These costs included, without limitation, testing costs, investigation costs, and costs associated with various
studies.
4
  Attached hereto as Exhibit B is a summary of the additional costs incurred by Sofgen relating to Dronabinol and
for which Akorn (or any prospective assignee) would be required to reimburse Sofgen for 50% of the total costs.
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        C.     No Cure; No Assumption and Assignment

        15.    The Trustee is not proposing to cure and compensate, or provide adequate

assurance that it will promptly compensate, Sofgen for any actual pecuniary losses suffered as a

result of the Debtor’s failure to perform under the Supply Agreement and refusable to contribute

to joint expenses. The Trustee has, therefor, not satisfied the requirements of section 365(b) and

cannot assume and assign the Supply Agreement unless and until the Cure Amount is paid in

full.

II.     Adequate Assurance of Future Performance

        16.    Sofgen also objects to the assumption and assignment of the Supply Agreement

because the Trustee has yet to provide evidence to Sofgen of the financial status of the proposed

assignee of the Supply Agreement, i.e. the proposed assignee, or the ability of the assignee to

perform all of the obligations contained in the Supply Agreement going forward.            These

obligations extend well beyond financial performance, as any prospective assignee would need

to establish its ability to comply with the comprehensive responsibilities of Akorn under the

Supply Agreement.     In addition, without knowing the identity of the prospective assignee,

Sofgen cannot determine whether the assignee has the ability to comply with exclusive dealing

and certain other key provisions of the Supply Agreement. Accordingly, the Supply Agreement

cannot be assumed and assigned to an assignee until such assignee satisfies the requirements of

section 365 of the Bankruptcy Code.

III.    Benefits and Burdens

        17.    It is well established that section 365(f) requires a trustee or debtor to assume a

contract subject to the benefits and burdens thereunder. In re ANC Rental Corp., 277 B.R. 226,

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238 (Bankr. D. Del. 2002); see also Nat’l Labor Relations Bd. v. Bildisco & Bildisco, 465 U.S.

513, 531 (1984) (“Should the debtor-in-possession elect to assume the executory contract,

however, it assumes the contract cum onere . . .”).          The cum onere rule “prevents the

[bankruptcy] estate from avoiding obligations that are an integral part of an assumed agreement.”

Id. (quoting United Air Lines, Inc v. U.S. Bank Trust Nat’l Ass’n (In re UAL Corp.), 346 B.R.

456, 468 n. 11 (Bankr. N.D. Ill. 2006)).

       18.     Accordingly, any proposed assignee would need to perform under the entire

Supply Agreement in respect of both Progesterone and Dronabinol and until such time as the

proposed assignee can establish its ability and willingness to perform under the entire Supply

Agreement, Sofgen objects to any assumption and assignment.

                                RESERVATION OF RIGHTS

       19.     Sofgen reserves all of its rights with respect to any assumption and assignment of

the Supply Agreement unless it is to a party that satisfies the Cure Amount and is otherwise

acceptable to Sofgen. In addition, Sofgen hereby expressly reserves its rights to object to the

sale relating to any of the rights under the Supply Agreement at the sale hearing.




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                                          CONCLUSION

       WHEREFORE, for the reasons set forth herein, Sofgen objects to the Cure Notice as it

applies to Sofgen and respectfully requests that the Court enter an order: (i) requiring the Trustee

or assignee to cure, or provide adequate assurance of prompt cure of the Cure Amount; (ii)

requiring the Trustee or assignee provide adequate assurance of future performance by the

assignee under the Supply Agreement; (iii) awarding fees and costs for bringing this Objection;

and (iv) granting such other relief as is just and appropriate.



Dated: May 16, 2023                            GREENBERG TRAURIG, LLP

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